Bank of America SP

Case 3:20-cr-00249-RS Document 679-5 Filed 06/06/25 Pagelof4

ABTC CORP | Account #MIP295 | September 1, 2019 to September 30, 2019

Deposits and other credits

Date
09/06/19

09/12/19

09/25/19

Description

WIRE TYPE:WIRE IN DATE: 190906 TIME:1316 ET TRN:2019090600363277
SEQ:190906341 886000A/405860 ORIG:B.R.M. HOFF ENTERPRISES | (D:GP253 SND

BK:WELLS FARGO NY INTL §D:0509 PMT DET: (0533 LETTER OF INTENT SHARES INTO

COMPANY /REC/BAN

WIRE TYPE:WIRE IN DATE: 190912 TIME:1746 ET TRN:2019091200468857
SEQ:1909121641009625/009625 ORIG:B.R.M. HOFF ENTERPRISES | ID EEP253 SND
BK:WELLS FARGO NY INTL |D:Q§IB092 PMT DET:OP [IN 104 PURCHASE OF SHARES
/REC/BANK OF AMERICA

WIRE TYPE:WIRE IN DATE: 190925 TIME:1731 ET TRN:2079092500489513

SEQ:2019092500005089/001725 ORIG:ROWLAND MARCUS ANDRADE ID:{§BEB911 SND BK:FR

OST BANK iD:114000093 PMT DET:PURPOSE: LOAN /REC/P RN/ATTN: MISSOURI CITY TX BR

Total deposits and other credits

Withdrawals and other debits

Rate
09/09/19

09/09/19

09/09/19

09/10/19

09/13/19

09/16/19

Description

WIRE TYPE:INTL OUT DATE:190909 TIME:1356 ET TRN:2019090900418320 SERVICE
REF:448615 BNF:A | PROFIT PTE LTD ID: 349 BNF BK:DBS BA NK LTD, SINGAPORE
ID:DBSSSGSGACHO346 PMT DET SB7 16 SOFTWARE DEV, TEST WIRE POP SERVICES

TransferWise Inc DES:TrnWise ID:BB775 INDN:Abtc Corp. CO 1DSB5 21 |AT
PMT INFO: REM OOOD0CO000000000000 FOR MORE INFORMATION CONTACT CUSTOMER
SERVICE

TransferWise Inc DES:TrnWise ID:NB172_ INDN:Abtc Corp. co ID BS 21 tat
PMT INFO: REM O00000000000000000 FOR MORE INFORMATION CONTACT CUSTOMER
SERVICE

WIRE TYPE:INTL OUT DATE:190910 TIME:1428 ET TRN:2019091000376732 SERVICE
REF:389203 BNF:A | PROFIT PTE LTD ID: 349 BNF BK:DBS BA NK LTD, SINGAPORE
ID:DBSSSGSGACHO346 PMT DET; 686 SOFTWARE DEVELOPMENT POP SERVICES

WIRE TYPE:INTL OUT DATE:190913 TIME:0511 ET TRN:2019091 300096174 SERVICE
REF:176971 BNF:A| PROFIT PTE LTD IDB 349 BNF BK:DBS BA NK LTD, SINGAPORE
ID:DBSSSGSG/ACHO346 PMT DET:MED486 STILL OWED 4K, POP SERVICES

TX TLR transfer to CHK 3003 Banking Ctr FIRST COLONY #0000309 TX Confirmation#
2764713234

Your checking account

Amount
24,990.00

74,985.00

320,000.00

$419,975.00

-250.00

-4,951.90

-1,740,00

-3,850.00

-6,000,00

-10,000.00

continued on the next page

Your
Digital

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when your payments are due.

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ARISTCB) | SSM-02-19-0703.8

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Stay up to date on your balances, and receive alerts when transactions have posted and

Log in or enroll at bankofamerica.com/SmaliBusiness and click on Alerts in the

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ABTC CORP | Account # MMMM2295 | September 1, 2019 to September 30, 2019

Withdrawals and other debits - continued

Date
09/17/19

09/17/19

09/20/19

09/24/19

09/24/19

09/24/19
09/27/19
09/27/19
09/30/19

09/30/1S
09/30/19

Description

WIRE TYPEWIRE OUT DATE:190917 TIME:1229 ET TRN:2019091700340775 SERVICE
REF:006869 BNF:ROWLAND MARCUS ANDRADE |D4§MBBIS911 BNF BK:FRO ST BANK
iD:114000093 PMT DETHEEEEEB928 LOAN PAYOFF FROM 4 JULY 19 NOTE

TransferWise Inc DES:TrnWise iDMEENN842 INDN:Abtc Corp. co IDNs 21 1at
PMT INFO: REM 000000000000000000 FOR MORE INFORMATION CONTACT CUSTOMER
SERVICE

TransferWise Inc DES:TrnWise |DMENNNN629S INDN:Abtc Corp. co IDM s21 tat
PMT INFO: REM 000000000000000000 FOR MORE INFORMATION CONTACT CUSTOMER
SERVICE

WIRE TYPE:WIRE OUT DATE:190924 TIME:0512 ET TRN:2019092400124904 SERVICE
REF:002194 BNF:SIENNA DEVELOPERS |D:MNNN7 219 BNF BK:FROST BA NK ID:114000093 PMT
DETMMR 442 OCT. PAYMENT FOR 2 DEVELOPERS

WIRE TYPE:INTL OUT DATE:190924 TIME:0514 ET TRN:20190924001 15692 SERVICE
REF:190980 BNF:A | PROFIT PTE LTD ID 349 BNF BK:DBS BA NK LTD, SINGAPORE
(D:0BSSSGSGACHO346 PMT DET: 182 SOFTWARE DEV, 7K A MONTH. POP SERVICES

TRANSFER ABTC CORP:Amazaon Web Services Confirmation# 0235796685
TRANSFER ABTC CORP:Bell Nunnally & Mart Confirmation# 0258269932
TX TLR cash withdrawal from CHK 2295

WIRE TYPE:BOOK OUT DATE:190930 TIME:0522 ET TRN:20190930001 10388 RELATED
REF:276138040 BNF:CAMBRIDGE MERCANTILE CORP ID: NNNBS31 PMT DET:DARREN
WINCZURA FOR THE CARE OF ALF

TRANSFER ABTC CORP:Mark Diadamo Confirmation# 1386427306

WIRE TYPE:FX OUT DATE:191001 TIME:1349 ET TRN:2019093000616560 FX:CAD 7500,00
1.2906 BNF:MARK DIADAMO 10:23 BNF BK:HSBC BANK CANADA ID:HKBCCATT PMT
DET:MBMMI6920 BALANCE OF DO MAIN PURCHASE POP GOODS /FXREF/TE-1-12-182132166

Card account # XXXX XXXX XXXX 2726

09/03/19

09/05/19

09/09/19

09/10/19

09/10/19

09/11/19

09/11/19

09/11/19

09/13/19

09/13/19

09/13/19

09/13/19

CHECKCARD 0830 Benchmarkemail co 8004304095 CA 85454919242030653655421 CKCD
5964 XXXXXXXXXXXXZ72GB XXXX XXKX XXXX 2726

CHECKCARD 0904 EIG*HOSTGATOR.COM 713-5745287 MA 75418239247079017366591
CKCD 4816 XXXXXXXXXXXX2726 XXXX XXXX XXXX 2726

CHECKCARD 0906 OFFICE DEPOT #225 HOUSTON = TX 02305379250100064665194 CKCD
5943 XXXXXXXXXXXXZ726 XXXX XXXX XXXX 2726

CHECKCARD 0909 MORTON'S HOUSTON HOUSTON 1X 55310209253286688800015 CKCD
5812 XXXXXXXXXXXX2Z726 AXXX XXXX XAXXK 2726

CHECKCARD 0910 PAYPAL "NHVERM San Jose CA CKCD 6051 XXXXXXXXXXXX2726 YOO
XXXX XXXX 2726

CHECKCARD 0911 BLACK WALNUT CAFE SUGAR LAND TX 55240379254286814700944 CKCD
5812 XXXXXXXXXXXX2726 XXXK XXXX XXXX 2726

CHECKCARD 0910 PASTA POMODORO HOUSTON ~~ TX 55480779254286096000310 CKCD
5499 XXXXXXXXXXXX272G XXXK XXXX XXXX 2726

CHECKCARD 0910 THE UPS STORE #43 812-679-9289 TX 55432869254200224409259 CKCD
7399 XXXXXXXXXXKX2726 XXXX XXXX XXXX 2726

CHECKCARD 0912 AMZN MKTP US*OF21 AMZN.COM/BILLWA 55310209255083706589037
CKCD 5942 XXXXXXXXXXXX2726 XXXX XXXX XXXX 2726

CHECKCARD 0912 OFFICE DEPOT #225 HOUSTON = TX 02305379256100066111555 CKCD
5943 XXXXXXXXXXXX2726 XXXX XXXXK XXXX 2726

CHECKCARD 0913 PAYPAL *MICROS San Jose CA CKCD 6051 XXXXXXXXXXXX2726 XXXX XXXX
XXX 2726

CHECKCARD 0913 PAYPAL “PAGELY San Jose CA 00000000000000000927062 RECURRING
CKCD 6051 XXXXXXXXXXXX2726 XXXX XXXX XXXX 2726

Amount
-10,000,00

-3,350.00

-1,000.00

~5,000.00

-4,000.00

~9,000,00
-50,000.00
-2,000.00
-35,000.00

-2,500,00
-5,811.25

-164,99
-66.93
-60.37

-196.37

-485.00
-26.63

-9.60

-103.83
-89.50
-25.95

-7,57

-299.00

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Your checking account

ABTC CORP | Account # [MMMP295 | September 1, 2019 to September 30, 2019

Withdrawals and other debits - continued

Date
09/16/19

09/16/19

09/16/19

09/16/19

09/17/19

09/17/19

09/17/19

09/17/19

09/17/19

O9/17/19
09/18/19

09/18/19

09/18/19

09/18/19
09/18/19

09/18/19

09/18/19
09/19/19

09/19/19

09/19/19

09/19/19

09/19/19
09/20/19

09/20/19

09/20/19

Description Amount
CHECKCARD 0913 PAPA JOHN'S #0852 713-953-7888 TX 05436849257000289626528 CKCD -28.61
5B14 XXXXXXXXXXXX2726 XXXK XXXX XXKK 2726
CHECKCARD 0914 LINDHOLM LAW PLLC TOMBALL 1X 85500399258900013500436 CKCD -5,000.00
8111 XXXXXXXXXXXX2726 XXXK XXXX XXXX 2726
CHECKCARD 0914 SQU*SQ “HOFFMAN P Valencia CA 554328692582001 79165639 CKCD -3,500.00
8111 XXXXXXXXXXXX2726 XXXX XXXX XXXX 2726
CHECKCARD 0915 PAYPAL *ARCHIV San Jose CA 00000000000000000474201 RECURRING -10.65
CKCD 6051 XXXXXXXXXXXX2726 XXXX XXXX XXXX 2726
CHECKCARD 0916 WAV*DEAN AND RAY 508-3095950 MA 75418239259079636470456 CKCD -1,200.00
8111 XXXXXXXXXXXX2726 XXXX XXXX XXXK 2726
CHECKCARD 0916 WAV*DEAN AND RAY 508-3095950 MA 75418239259079636470464 CKCD -1,840.00
8111 XXXXXXXXXXXX2726 XXXK XXXK XXXK 2726
CHECKCARD 0916 WAV*DEAN AND RAY 508-3095950 MA 75418239259079636470472 CKCD -500.00
8111 XXXXKXXXXXKKX2726 XXXK XXXX XXKX 2726
CHECKCARD 0916 OFFICE DEPOT #225 HOUSTON 1X 02305379260100062745418 CKCD -109.70
5943 XXOOOKXXXXXXX2726 XXXX XXXK XXXX 2726
CHECKCARD 0917 TIME WISE #84 HOUSTON TX CKCD 5542 XXXXXXXXXXXX2726 XXXX -33.96
XXXX XXXX 2726
BUC-EE'S #26 09/17 #000065302 PURCHASE 205 IH-45 SOUTH MADISONVILLE TX -56.61
CHECKCARD 0917 RUCHIS ELRINCON HOUSTON = 1X 555475052610060002 18664 CKCD -20.16
5812 XXXXXXXXXXXX2726 XXXX XXXXK XXXX 2726
CHECKCARD 0917 OFFICE DEPOT #225 HOUSTON 1X 02305379261100059626661 CKCD -307.39
5943 XXMOOKXXXXXXZ726 XXXX XXXX XXXX 2726
CHECKCARD 0917 SHELL SERVICE DALLAS TX CKCD 5542 XXXXXXXXXXXX2726 XXXK XOX -25.19
XXXX 2726
SHELL SERVICE 09/17 #000025789 PURCHASE 8207 SOUTH HAMPTO DALLAS TX -8.61
CHECKCARD 0918 SQU*SQ *GOSQ.COM Grand PrairieTX 55432869261200993196062 CKCD -32.75
7299 XXXXXXXXXXXX2Z726 XXXX KOOKK XXKX 2726
CHECKCARD 0918 SQ *SQ *SID'S NAT Fort Worth TX 55432869261200994329027 CKCD 5499 -10.80
XXXXXXXKXXXK27 26 XXXKX XXXX XXXX 2726
DENNY'S #7712 09/18 #000239979 PURCHASE 4400 N CENTRAL EX DALLAS ™ -17,28
CHECKCARD 0918 OL SOUTH PANCAKE FORT WORTH TX 25247809262001 678397907 CKCD ~34.27
5812 XXXXXXXXXXXX2Z2726 XXXX XXXX XXXX 2726
CHECKCARD 0918 CFW PARKING METER FORT WORTH TX 554328692622001 39725807 CKCD -1,50
7523 XXXXXXXXXXXX2726 XXXX XXXK XXXX 2726
CHECKCARB 0918 CHEESECAKE FORT W FORT WORTH TX 55310209262400391000180 CKCD -58.01
5812 XXXXXXXXXXXX2726 XXXX XXKX XXXX 2726
CHECKCARD 0918 SQ *SQ *SID'S NAT CARROLLTON TX 55432869262200082 137687 CKCD -14.06
5499 XXXXXXXXXXXX2726 XXXX XXXX XXXX 2726
ACFN3554 09/19 #000253664 WITHDRWL SHERATON FOR-CFN3 FORT WORTH TX -103.95
CHECKCARD 0919 FT WORTH FRELD IN FORT WORTH §$ TX 55432869262200252618805 CKCD -221,35
3715S XXXXXXXXXXXX2726 XXXX XXXK XXXXK 2726
CHECKCARD 0919 CFW PARKING METER FORT WORTH TX 55432869263200365303336 CKCD -1.50
7523 XXXXXXXXXXXX2726 XXXX XXXXK XXXX 2726
CHECKCARD 0919 SALAS LIMON CENTR FORT WORTH TX 25265089264000016034358 CKCD -20.66
5812 XXXXXXXXXXXX2726 XXXX XXXK XXXX 2726

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ABTC CORP | Account # MMMMM2295 | September 1, 2019 to September 30, 2019

Withdrawals and other debits - continued

Date
09/20/19

09/20/19
09/20/19
09/20/19
09/20/19

09/20/19
09/23/19

09/23/19
09/23/19
09/23/39
09/23/19
09/24/19
09/24/19
09/24/19
09/24/19
09/27/19
09/27/19
09/30/19
09/30/19
09/30/13
09/30/19
09/30/19

09/30/19
09/30/19

09/30/19
09/30/19

09/30/19

Description

CHECKCARD 0919 CFW PARKING METER FORT WORTH TX 55432869263200365303682 CKCD
7523 XXXXXXXXXXXXZ726 XXXX XXXX XXXX 2726

CHECKCARD 0919 TACO BELL #028773 FORT WORTH TX 55263529263837009099137 CKCD
5814 XXXXXXXXXXXX2726 XXXX XXXX XXXX 2726

CHECKCARD 0919 THE BIRD CAFE FORT WORTH TX 55309599262207 188700899 CKCD 5812
XXXXXKXXXXAXZ 726 XXXK XXXX XXXK 2726

CHECKCARD 0920 SHELL SERVICE WILMER TX CKCD 5542 XXXXXXXXXXXX2726 XXXX XXXX
XXXX 2726

CHECKCARD 0920 MCDONALD'S F60 ENNIS TX CKCD 5814 XXXXXXXXXXXX2726 XXXX
XXXX XXXK 2726

BUC-EE'S #26 09/20 #000318096 PURCHASE 205 IH-45 SOUTH MADISONVILLE TX

CHECKCARD 0919 WHATABURGER 511 FORT WORTH TX 55432869264200536908301 CKCD
5814 XXXXXXXXXXXX2726 XXXX XXKX XXXK 2726

CHECKCARD 0921 EMBASSY SUITES FT FORT WORTH TX 55340209264036004518560 CKCD
3751 XXXXXXXXXXXX2726 XXXX XXXK XXXK 2726

CHECKCARD 0920 SHERATON FT WORTH FORT WORTH TX 55432869264200529768274
CKCD 3503 XXXXXXKXKXKXZ726 KXKK XXXK KKK 2726

CHECKCARD 0920 LINDHOLM LAW PLLC TOMBALL = TX 85500399263900013800466 CKCD
8111 XXXXXXXXXXXX2726 XXXX XXXK XXXX 2726

CHECKCARD 0920 SQU‘SOQ *HOFFMAN P Santa ClaritaCA 55432869263200514369725 CKCD
8111 XXXXXXXXXXXX2Z726 XXXX XAXXX XXXX 2726

CHECKCARD 0923 BHOJANI & NELSON IRVING 1X 85500399266900012505204 CKCD 8111
XXXXXXXXXXXXZ 726 AXXK XXXX XXXX 2726

CHECKCARD 0923 Amazon web servic aws.amazon.coWA 55432869266200159812762 CKCD
7399 XXXXXXXXXXXX2726 XXXX XXXK XXXX 2726

CHECKCARD 0923 Amazon web servic aws.amazon.coWA 55432869266200159246318 CKCD
7399 XXXXXXXXXXXX2726 XXXX XXXK XXXX 2726

CHECKCARD 0923 S9DESIGNS.COM CON 8887479891 CA 55429509266637517168360 CKCD
7333 XXXXKXXXXXXXZ726 XXXX XKKK XXXK 2726

CHECKCARD 0926 BJS RESTAURANTS 4 SUGAR LAND 4X 55432869270200051510302 CKCD
5812 XXXXXXXXXXXX2726 XXXX XXXX XXXX 2726

CHECKCARD 0927 PAYPAL *JOSEER San Jose CA CKCD 6051 XXXXXXXXXXXX2726 XXXX XXXX
XXXX 2726

CHECKCARD 0927 UNITED 800-932-2732 TX 55432869270200042 173988 CKCD 3000
XXAXXXXXXXXXAZ7 26 XXXX XXXX XXXX 2726

CHECKCARD 0927 LINDHOLM LAW PLLC TOMBALL = TX 85500399270900014100503 CKCD
8111 XXXXOXKXXAKAZ 726 XXXX XXXKX XXXX 2726

CHECKCARD 0927 PASTA POMODORO HOUSTON = TX 55480779271286096300149 CKCD
5499 XXXXXXXXXXXX2726 XXXX XXXK XXXK 2726

CHECKCARD 0927 UAINFLT HOUSTON = TX 5543286927 1200286588080 CKCD 3000
XKXKXXXXXAXXAXZ72E XXXX XXAX XXXX 2726

CHECKCARD 0928 UAINFLT HOUSTON = TX 55432869271200286588098 CKCD 3000
XXXXXXXXXXXX27 26 XXXX XXXX XXXX 2726

IC PEARSON DOM 09/27 #000620835 WITHDRWL IC PEARSON DOM T1 MISSISSAUG ON

CHECKCARD 0928 DENNY'S TORONTO S MISSISSAUGA ON 55181369272461605742708 CKCD
5812 XXXXXXXXXXXX2726 XXXX XXXX XXXX 2726

NRT 09/28 #000633072 WITHDRWL STAGE WEST SEED MISSISSAUGA ON

CHECKCARD 0929 DENNY'S TORONTO S MISSISSAUGA ON 55181369272461605742716 CKCD
5812 XXXXXXXXXXXX2726 XXXX XXXX XXXX 2726

CHECKCARD 0929 MONTANAS 43074 MISSISSAUGA ON 5541719219273200650130785 CKCD
S812 XXXXXXXXXXXX2726 XXXX XXXX XXXK 2726

Amount
-2,00

-9.72
-75.74
-22.17
“15.74

-19.62
-13.35

-225.31
-315.59
-5,000.00
-500.00
-4,000.00
-960.20
-$12.30
-1,658.00
~58.50
-1,350.15
-2,323.73
5,000.00
-8.95
-4,99
-4.99

-305.36
-43.05

-251.12
-86,23

-54.55
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